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                   18                              UNITED STATES DISTRICT COURT

                   19                           NORTHERN DISTRICT OF CALIFORNIA
                   20                                   SAN FRANCISCO DIVISION
                   21   RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   22      Individual and Representative Plaintiffs,    ADMINISTRATIVE MOTION TO FILE UNDER
                                                                        SEAL PORTIONS OF JOINT LETTER BRIEFS
                   23          v.                                       AND SUPPORTING EVIDENCE (DKTS. 352 –
                                                                        357)
                   24   META PLATFORMS, INC., a Delaware
                        corporation;
                   25
                                                        Defendant.
                   26

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                                                                                            ADMIN. MOTION TO SEAL
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                    1          Pursuant to Civil Local Rule 79-5, Defendant Meta Platforms, Inc. (“Meta”) moves this

                    2   Court for an Order allowing Meta to file under seal confidential, unredacted versions of joint letter

                    3   briefs regarding (1) Meta’s responses to Plaintiffs’ Requests for Admission (“RFA Joint Letter

                    4   Brief”), (2) the crime-fraud exception (“Crime-Fraud Joint Letter Brief”), (3) Meta’s responses to

                    5   Plaintiffs’ Requests for Production (“RFP Joint Letter Brief”), (4) privilege log issues relating

                    6   business advice (“Business Advice Joint Letter Brief”), (5) additional deposition time (“Deposition

                    7   Joint Letter Brief”), and (6) Meta’s responses to Plaintiffs’ Interrogatories (“ROG Join Letter

                    8   Brief”) (collectively, the “Joint Letter Briefs”) and certain supporting evidence submitted with the

                    9   Joint Letter Briefs. Meta respectfully submits that good cause exists for the filing of these materials

                   10   under seal. The motion is based on the following Memorandum of Points and Authorities and the

                   11   Declaration of Kyanna Sabanoglu in support of this Administrative Motion to File Under Seal.

                   12          The following chart lists the documents for which Meta requests sealing – in whole or in

                   13   part – in order to protect Meta’s confidential business information.

                   14
                         Document                                                           Sealing Request
                   15
                         RFA Joint Letter Brief (Dkt. 352)                                          Redacted portions
                   16
                         Exhibit A to the RFA Joint Letter Brief (Dkt. 352-1)                       Redacted portions
                   17

                   18
                         Crime-Fraud Joint Letter Brief (Dkt. 355)                                  Redacted portions
                   19
                         Exhibit A to Crime-Fraud Joint Letter Brief (Dkt. 355-1)                   Redacted portions
                   20
                         Exhibit B to Crime-Fraud Joint Letter Brief (Dkt. 355-2)                   Entire document
                   21

                   22
                         RFP Joint Letter Brief (Dkt. 356)                                          Redacted portions
                   23

                   24
                         Exhibit B to RFP Joint Letter Brief (Dkt. 356-2)                           Entire document

                   25    Exhibit C to RFP Joint Letter Brief (Dkt. 356-3)                           Entire document

                   26

                   27    Business Advice Joint Letter Brief (Dkt. 353)                              Redacted portions

                   28    Exhibit A to Business Advice Joint Letter Brief (Dkt. 353-1)               Redacted portions
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                    1
                         Exhibit B to Business Advice Joint Letter Brief (Dkt. 353-2)             Redacted portions
                    2

                    3
                         Deposition Joint Letter Brief (Dkt. 354)                                 Redacted Portions
                    4
                         Exhibit A to Deposition Joint Letter Brief (Dkt. 354-1)                  Entire document
                    5
                         Exhibit B to Deposition Joint Letter Brief (Dkt. 354-2)                  Entire document
                    6
                         Exhibit C to Deposition Joint Letter Brief (Dkt. 354-3)                  Entire document
                    7
                         Exhibit E to Deposition Joint Letter Brief (Dkt. 354-5)                  Redacted Portions
                    8

                    9
                         ROG Joint Letter Brief (Dkt. 357)                                        Redacted portions
                   10
                         Exhibit A to ROG Joint Letter Brief (Dkt. 357-1)                         Redacted portions
                   11
                         Exhibit D to ROG Joint Letter Brief (Dkt. 357-4)                         Redacted portions
                   12

                   13   A [Proposed] Order is filed concurrently herewith, and Meta refers the Court to the Joint Letter

                   14   Briefs themselves and supporting evidence attached thereto as further support for this

                   15   Administrative Motion.

                   16   I.     LEGAL ARGUMENT

                   17          Though the presumption of public access to judicial proceedings and records is strong, it

                   18   “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (1978). The Ninth Circuit

                   19   treats documents “attached to dispositive motions differently from records [i.e., documents]

                   20   attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180

                   21   (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For

                   22   non-dispositive motions, such as the Parties’ Joint Letter Briefs, the “good cause” standard applies.

                   23   OpenTV v. Apple, No. 14-cv-01622-HSG, 2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015);

                   24   Kamakana, 447 F.3d at 1180 (“A ‘good cause’ showing will suffice to seal documents produced in

                   25   discovery.”). The Federal Rules afford district courts “flexibility in balancing and protecting the

                   26   interests of private parties.” Kamakana, 447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-

                   27   05330-HSG, 2020 WL 210318, at *8 (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963

                   28   (Fed. Cir. 2021) (finding good cause to seal “confidential business and proprietary information”).
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                    1          Portions of the Joint Letter Briefs and corresponding supporting evidence contain Meta’s

                    2   confidential information, for which Meta requests sealing.

                    3          The redacted portions of Exhibit A to the RFA Joint Letter Brief are responses to Plaintiffs’

                    4   Requests for Admission that Meta has designated “CONFIDENTIAL” under the Protective Order

                    5   and refer to highly sensitive, non-public information concerning Meta’s business practices

                    6   surrounding its Llama models and the datasets used to train the Llama models. The redacted

                    7   portions of the RFA Joint Letter Brief refer to these responses.

                    8          The redacted portions of the Crime-Fraud Joint Letter Brief describe, refer to, and quote

                    9   from Meta witness testimony and documents produced by Meta in this case designated “HIGHLY

                   10   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the Stipulated Protective Order. These

                   11   documents and testimony refer to highly sensitive, non-public information concerning Meta’s

                   12   internal methods and procedures relating to datasets used to train its Llama models and Meta’s

                   13   development of its Llama models. The redacted portions of Exhibit A to the Crime-Fraud Joint

                   14   Letter Brief only cover highly sensitive information in Meta’s privilege log, namely Meta employee

                   15   names email addresses, non-public filenames, and non-public email subject lines. Exhibit B to the

                   16   Crime-Fraud Joint Letter brief are excerpts of the deposition of Meta’s CEO, Mark Zuckerberg,

                   17   which has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under

                   18   the Stipulated Protective Order and discusses Meta’s internal policies relating to the acquisition of

                   19   data to train Meta’s Llama models.

                   20          Exhibits B and C to the RFP Joint Letter Brief are excerpts of deposition testimony from

                   21   Meta employees, marked “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” These

                   22   excerpts discuss highly sensitive, confidential practices and processes surrounding training data for

                   23   Meta’s Llama models, including how that data was obtained, and the development of the Llama

                   24   models. The redacted portions of the RFP Joint Letter Brief describe and quote from this testimony,

                   25   as well as documents produced by Meta and marked “HIGHLY CONFIDENTIAL –

                   26   ATTORNEYS’ EYES ONLY” under the Stipulated Protective Order. These portions similarly

                   27   discuss Meta’s confidential practices and processes surrounding its Llama models.

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                    1          The redacted portions of Exhibits A and B to the Business Advice Joint Letter brief only

                    2   cover highly sensitive information in Meta’s privilege log, namely Meta employee names and email

                    3   addresses, non-public filenames, and non-public email subject lines. The redacted portions of the

                    4   Business Advice joint Letter Brief similarly only cover filenames or direct quotes from documents

                    5   produced by Meta and designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

                    6          Exhibits A–C to the Deposition Joint Letter Brief are excerpts of deposition testimony from

                    7   Meta employees, marked “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” These

                    8   excerpts discuss highly sensitive, confidential practices and processes surrounding Meta’s Llama

                    9   models and the datasets used to train them. The redacted portions of the Deposition Joint Letter

                   10   Brief describe and quote from this testimony as well as documents produced by Meta and marked

                   11   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” The redacted portions of Exhibit

                   12   E to the Deposition Joint Letter Brief discuss Meta’s confidential agreements as well as practices

                   13   and procedures concerning its Llama models and the datasets used to train them.

                   14          The redacted portions of Exhibit A to the ROG Joint Letter Brief are responses to Plaintiffs’

                   15   Interrogatories that Meta has designated “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

                   16   ATTORNEYS’ EYES ONLY” under the Protective Order. These responses include highly

                   17   sensitive details concerning Meta’s business practices and business decisions relating to its Llama

                   18   models, its internal development of its Llama models, and highly confidential details concerning

                   19   Meta’s business partnerships and agreements. The redacted portions of the ROG Joint Letter Brief

                   20   refer to or describe the confidential information contained in these Interrogatory responses. The

                   21   redacted portions of Exhibit D to the ROG Joint Letter Brief discuss confidential information

                   22   concerning the Meta’s use of certain datasets to train the Llama models.

                   23          Meta must request sealing of these materials, as this information is highly confidential, and

                   24   Meta takes steps to carefully protect the confidentiality of information of this sort as disclosure has

                   25   the potential to cause significant competitive injury to Meta.         See, e.g., Krieger v. Atheros

                   26   Commc’ns, Inc., No. 11-CV-640-LHK, 2011 WL 2550831, at *1 (N.D. Cal. Jun. 25, 2011) (finding

                   27   information regarding party’s “long-term financial projections, discussions of business strategy,

                   28   and competitive analyses” sealable); Space Data Corp. v. Alphabet Inc., No. 16-CV-03260-BLF,
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                    1   2019 WL 285799, at *1 (N.D. Cal. Jan. 22, 2019) (finding information regarding party’s

                    2   confidential and proprietary technical information, and sensitive financial information sealable).

                    3   These sealing requests are critical to protect Meta’s confidential sensitive technical and competitive

                    4   information.

                    5          The specific basis for sealing these materials is outlined in the accompanying declaration

                    6   of Meta’s Associate General Counsel, Kyanna Sabanoglu. As outlined in Ms. Sabanoglu’s

                    7   declaration, public disclosure of the protected information contained in the materials Meta seeks to

                    8   seal would cause competitive harm to Meta. Meta’s proposed redactions and sealing requests are

                    9   narrowly tailored to include only that information which would cause specific, articulable harm, as

                   10   identified in Ms. Sabanoglu’s declaration. In each instance, the harm to Meta outweighs the

                   11   public’s interest in disclosure. See, e.g., In re iPhone App. Litig., No. 11-md-02250-LHK, 2013

                   12   WL 12335013, at *2 (N.D. Cal. Nov. 25, 2013) (granting motion to seal where the defendant’s

                   13   interest in “maintaining the confidentiality of information about its technology and internal business

                   14   operations” outweighed that of the public in accessing such documents). To the extent the materials

                   15   Meta seeks to seal include non-confidential background information, sealing of such information

                   16   within the context of the Joint Letter Briefs is necessary to maintain the confidentiality of Meta’s

                   17   protected information, as the discussion necessarily implies conduct by Meta which is highly

                   18   sensitive, non-public, and which Meta has taken steps to keep confidential. Accordingly, this

                   19   sealing request is critical to protecting Meta’s confidential sensitive technical and competitive

                   20   information.

                   21   II.    CONCLUSION
                   22          Pursuant to Civil Local Rule 79-5, as appropriate, redacted and unredacted versions of the

                   23   above-listed document accompany this Administrative Motion. For the foregoing reasons, Meta

                   24   respectfully requests that the Court grant the Administrative Motion to Seal.

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